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                               Exhibit 34



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                             Raleigh, NC

                                                                                        Page 1
                        UNITED STATES DISTRICT COURT

                          DISTRICT OF MASSACHUSETTS

       -----------------------------------x

       In Re:    PHARMACEUTICAL INDUSTRY           ) MDL No. 1456

       AVERAGE WHOLESALE PRICE LITIGATION ) Civil Action

       -----------------------------------x 01-12257-PBS

       THIS DOCUMENT RELATES TO:                   )

       United States of America, ex rel.           ) Hon. Patti B.

       Ven-A-Care of the Florida Keys,             )      Saris

       Inc., v. Abbott Laboratories, Inc.,)

       Civil Action No. 06-11337-PBS               )

       and United States of America ex             ) Video 30(b)(6)

       rel. Ven-a-Care of the Florida              ) Deposition of

       Keys, Inc., v. Dey, Inc., et al.,           ) State of North

       Civil Action No. 05-11084-PBS               ) Carolina Dept.

       and United States of America ex             ) of Health &

       rel. Ven-a-Care of the Florida              ) Human Services

       Keys, Inc., v. Boehringer                   ) by Lisa Weeks

       Ingelheim Corp., et al., Civil              )

       Action No. 07-10248-PBS                     ) Raleigh, NC

       -----------------------------------x October 21, 2008

       Reporter: Marisa Munoz-Vourakis-RMR, CRR, Notary Public




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                                                                                       Page 2
   1                         Video Deposition of THE NORTH CAROLINA
   2      DEPARTMENT OF HEALTH AND HUMAN SERVICES by LISA WEEKS,
   3      taken by the Plaintiffs, at the US Attorney's Office,
   4      310 New Bern Avenue, Terry Sanford Building, Raleigh,
   5      North Carolina, on the 21st day of October, 2008 at
   6      9:15 a.m., before Marisa Munoz-Vourakis, Registered
   7      Merit Reporter, Certified Realtime Reporter and Notary
   8      Public.
   9

 10

 11

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                                                                                      Page 32
   1
                     A.        Okay.
   2
                     Q.        I have handed Ms. Weeks a copy of 52
   3
           Federal Register 28657, year 1987.                          It is a two-
   4
           sided page from the Federal Register, and it
   5
           announces amendments to 42 CFR Part 413.
   6
                               Ms. Weeks, if I could -- let's see, the
   7
           date on the regulation you see at the top is
   8
           1987.         Do you see that there?
   9
                     A.        Yes.
 10
                     Q.        If I could direct your attention to
 11
           Section 447.331(b), other drugs.                          If you take a
 12
           minute to read that paragraph.
 13
                                         (Pause.)
 14
                     A.        Okay.
 15
                     Q.        Do you see where it says that it refers
 16
           to payment levels, that the agency has determined
 17
           by a applying the lower of one, estimated
 18
           acquisition costs plus reasonable expense and
 19
           fees established by the agency; or two,
 20
           provider's usual and customary charges to the
 21
           general public?
 22
                               Do you see that there?

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                                                                                      Page 33
   1
                     A.        Yes.
   2
                     Q.        Has your agency established a
   3
           reimbursement methodology that applies these
   4
           elements?
   5
                     A.        Yes.
   6
                     Q.        And how has it done so?
   7
                     A.        It has determined that the estimated
   8
           acquisition costs we base -- we use the AWP, the
   9
           Average Wholesale Price plus a dispensing fee.
 10
                     Q.        And what about the usual and customary
 11
           charges to the general public, does your state
 12
           provide for that as well?
 13
                     A.        Yes.        If the usual and customary charge
 14
           provided to the general public is less, than we
 15
           would reimburse at that rate.
 16
                     Q.        I'd like to refer you to just above
 17
           that at the top of the right-hand side of the
 18
           page, Section 447.301 definitions.                          Do you see
 19
           that there?               And the second definition says
 20
           estimated acquisition costs.                         Can you take a
 21
           minute to read that?
 22
                                         (Pause.)

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                                                                                      Page 34
   1
                     A.        Okay.
   2
                     Q.        Are you familiar with that definition?
   3
                     A.        Yes.
   4
                     Q.        And has the state endeavored to
   5
           determine estimated acquisition costs in
   6
           accordance with that definition?
   7
                     A.        Yes.
   8
                     Q.        And how has it done so?
   9
                     A.        We, again, use the average wholesale
 10
           price minus a discount to determine the estimated
 11
           acquisition cost.
 12
                     Q.        Does the state have a formula for
 13
           reimbursing for the drug ingredient portion of
 14
           pharmacy claims?
 15
                     A.        Yes.
 16
                     Q.        And what is that formula as of today?
 17
           You can put that aside.
 18
                     A.        Okay.         We use AWP minus ten percent or
 19
           the federal upper limits or the state maximum
 20
           allowable cost, or the usual and customary, the
 21
           lesser of those, plus a dispensing fee and minus
 22
           the copayment.

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                                                                                      Page 35
   1
                     Q.        And where is it written down that that
   2
           is the state's formula?
   3
                     A.        It is written in the state plan.
   4
                     Q.        And can DMA modify the formula on its
   5
           own?
   6
                               MR. KATZ:             Objection to form.
   7
                     A.        No, it cannot.
   8
                     Q.        What is a state plan?
   9
                     A.        It is a plan that the state has with
 10
           the federal government or CMS to -- it's an
 11
           agreement so that the state can draw down the
 12
           federal funds.
 13
                     Q.        Is it a requirement?
 14
                     A.        Yes.
 15
                     Q.        Has the state, is the state plan
 16
           submitted to the federal government?
 17
                     A.        It's submitted to CMS, which is part of
 18
           the federal government.
 19
                     Q.        And who prepares the state plan?
 20
                     A.        The Department of Health and Human
 21
           Services.
 22
                     Q.        And North Carolina has a state plan?

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                                                                                      Page 36
   1
                     A.        Yes.
   2
                     Q.        Has the state plan been amended from
   3
           time to time?
   4
                     A.        Yes.
   5
                     Q.        And about how often is the state plan
   6
           amended?
   7
                     A.        Not frequently.               Not very often.
   8
                     Q.        Is it amended every year?
   9
                     A.        No.
 10
                     Q.        Every couple of years?
 11
                     A.        No.
 12
                     Q.        Every five to ten years?
 13
                     A.        There's no schedule.               It just depends,
 14
           but generally, I mean, it has been amended from
 15
           time to time.
 16
                     Q.        And when did the state make an
 17
           amendment? If there's no schedule, how does the
 18
           state know whether to make an amendment or not?
 19
                     A.        If the state plan is different than
 20
           what the state does, then the state has to amend
 21
           the state plan.
 22
                     Q.        Does the state plan have provisions

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                                                                                      Page 77
   1
                     A.        Yes.
   2
                     Q.        I'd like to read that sentence.
   3
                               We would also clarify our policy that a
   4
           dispensing fee determination must be separate and
   5
           distinct from the EAC determination and unrelated
   6
           to the cost of the drug product.
   7
                               Do you see that there?
   8
                     A.        Yes.
   9
                     Q.        Is your state's reimbursement formula
 10
           and state plan consistent or inconsistent with
 11
           this policy?
 12
                               MR. KATZ:             Objection, form.
 13
                     A.        It's consistent.
 14
                     Q.        Does the state have any practice or
 15
           policy of paying increased ingredient costs in
 16
           order to make up for inadequate dispensing fees?
 17
                               MR. KATZ:             Objection, form.
 18
                     A.        No.
 19
                     Q.        Did North Carolina increase its
 20
           dispensing fees in response, for example, to the
 21
           Deficit Reduction Act?
 22
                               MR. KATZ:             Objection, form.

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